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                             UNITED STATES DISTRICT COURT
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                            CENTRAL DISTRICT OF CALIFORNIA
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        TRISTIN D. KING,                          Case No. 2:20-cv-0209-DOC (GJS)
12
                     Plaintiff,
13                                                ORDER DISMISSING ACTION
               v.                                 WITHOUT PREJUDICE
14
        JAMAR WILLIAMS, et al.,
15
                     Defendants.
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17
18          On April 11, 2022, the Court issued an Order resetting the discovery and
19    dispositive motions deadlines in this civil rights case. The copy of the April 11
20    Order served upon Plaintiff at his docket address of record (the Robert J Donovan
21    Facility) was returned by the U.S. Postal Service to the Clerk’s Office on April 26,
22    2022, as undeliverable, with the notation “Inactive.” [Dkt. 46]. As a result, on May
23    3, 2022, Magistrate Judge Standish issued a second Order, in which she directed
24    Plaintiff to show cause, by no later than May 17, 2022, why he had failed to comply
25    with Local Rule 41-6 (discussed below) or, alternatively, providing that he could
26    simply comply with Local Rule 41-6 by that date. [Dkt. 47, “OSC”.] The OSC
27    specifically warned Plaintiff as follows:
28
            Plaintiff is cautioned that the failure to comply with this Order To
            Show Cause will result in a recommendation that this action be
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  1         dismissed pursuant to Rule 41(b) of the Federal Rules of Civil
            Procedure and/or Local Rule 41-6 for want of prosecution.
  2
  3   [OSC at 2; emphasis in original.] May 17, 2022, has come and gone, and Plaintiff
  4   has neither responded to the OSC nor complied with Local Rule 41-6. The OSC
  5   was further returned to the Court as undeliverable on May 23, 2022. [Dkt. 49.]
  6         Local Rule 41-6 provides that:
  7
            A party proceeding pro se must keep the Court and all other parties
  8         informed of the party’s current address as well as any telephone number
  9         and email address. If a Court order or other mail served on a pro se
            plaintiff at his address of record is returned by the Postal Service as
10          undeliverable and the pro se party has not filed a notice of change of
11          address within 14 days of the service date of the order or other Court
            document, the Court may dismiss the action with or without prejudice
12          for want of prosecution.
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      ///
14
            It has been more than 14 days since the April 11 Order was served on Plaintiff
15
      at his docket address of record, which the Court now knows no longer is a viable
16
      address. To date, Plaintiff has failed to comply with the Local Rule 41-6
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      requirement that he submit a Notice of Change of Address for filing when his
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      address changed. Given Plaintiff’s failure to provide the Court with a current
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      address or other means of contacting him, the Court has no means of communicating
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      with him, given that he has not provided the Court with a telephone number or email
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      address or otherwise contacted the Court. Given Plaintiff’s failure to keep the Court
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      apprized of his whereabouts, the Court assumes that he no longer wishes to pursue
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      this case and that this action may be dismissed. Thus, Local Rule 41-6 on its own
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      supports the dismissal of this action for want of prosecution.
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  1         Accordingly, for the foregoing reasons, IT IS ORDERED that this case is
  2   dismissed without prejudice, pursuant to Local Rule 41-6, for lack of prosecution.
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  4       IT IS SO ORDERED.
  5
  6   DATED: May 31, 2022                   _______________________________
                                            DAVID O. CARTER
  7                                         UNITED STATES DISTRICT JUDGE
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  9   Presented by:
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11    _______________________________
12    GAIL J. STANDISH
      UNITED STATES MAGISTRATE JUDGE
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